The appellant, Antonio Trapani, while driving his automobile at the intersection of Webster and Geary Streets in the city of San Francisco one stormy night, collided with a taxicab owned by the plaintiffs. The trial court gave judgment against Trapani for $520.05, and from this judgment he appeals.
The appeal presents nothing but the disputed question of fact whether the collision was due to the negligence of the *Page 262 
plaintiff's driver or the defendant Trapani. The evidence, as is usual in such cases, is conflicting and contradictory. The trial court accepted the statements of plaintiff's witnesses. We have examined the record with care and find no reason to disturb the findings of the trial court.
Complaint is made that the damages awarded were too large, but on this subject also the testimony was conflicting, and it was a question for the trial court to determine.
The judgment is affirmed.
A petition for a rehearing of this cause was denied by the district court of appeal on June 15, 1918.